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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

                         CASE NO.: 8:22-cv-02004


LORRAINE S. HOFFMAN,

          Plaintiff,

v.

HEALTHCARE REVENUE RECOVERY
GROUP, LLC,

        Defendant.
_____________________________________/


            JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

      COMES NOW, Plaintiff, Lorraine S. Hoffman, and Defendant, Healthcare

Revenue Recovery Group, LLC pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), by and

through their undersigned counsel, and would represent to the Court that this

action has been resolved and would request entry of an Order dismissing this

matter with Prejudice, each party to bear their own costs and attorneys’ fees.

      Dated this 6th day of April 2023.

/s/ Alexander J. Taylor                    /s/ Ernest H. Kohlmyer, III
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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the foregoing has been electronically filed

on April 6, 2023, via the Clerk of Court’s CM/ECF system. I further certify that the

foregoing has been sent via electronic transmission to the following: Alexander J.

Taylor, Esquire at ataylor@sulaimanlaw.com and Mohammed Badwan at

mbadwan@sulaimanlaw.com (Attorneys for Plaintiff).




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